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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


  BMG RIGHTS MANAGEMENT                        )
  (US) LLC, and ROUND HILL                     )
  MUSIC LP                                     )
                                               )
                 Plaintiffs,                   )
                                               )
         v.                                    )       Case No. 1:14-cv-1611(LO/JFA)
                                               )
  COX COMMUNICATIONS, INC.,                    )
  COXCOM, LLC                                  )
           Defendants.                         )
                                               )

              [Plaintiffs’ Proposed] Neutral Statement of Facts to Precede Voir Dire

         This is a copyright infringement case. A “copyright” is a set of legal rights that the law

  gives to someone who owns an original work of authorship. This case involves one kind of

  original work of authorship, namely “musical compositions,” which include music and lyrics.

  The owner of the copyright to a musical composition is the only one permitted to copy or

  distribute the musical composition, or to authorize someone else to copy or distribute the musical

  composition. The term “owner” includes the author of the work, an assignee, and an exclusive

  licensee.

         If someone does not have authorization from the copyright owner to copy or distribute a

  musical composition, the copyright laws prohibit that person from copying or distributing it. If

  that person nonetheless proceeds to copy or distribute a musical composition without

  authorization, that conduct is called “copyright infringement” and is against the law.

         In addition, a company may be liable for copyright infringement even though it has not

  infringed the protected copyrighted work directly. A company will be liable for contributory



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  infringement if it knows of, or should have known of, and materially contributes to another

  person’s copyright infringement of a copyrighted work. Also, a company will be liable for

  vicarious infringement if it has the right and ability stop or limit another person’s copyright

  infringement and obtains a direct financial benefit from that infringement and yet fails to stop the

  infringement.

         The plaintiff in this case is BMG Rights Management (US) LLC. BMG is a music

  publishing company. BMG has already established that it is the owner of 1,398 musical

  composition works registered with the United States Copyright Office. BMG has also established

  that its copyright in each of these 1,398 copyrighted works is valid.

         There are two Defendants in this case—Cox Communications, Inc. and Coxcom, LLC. I

  will refer to them together simply as “Cox.”

         BMG contends that Cox is contributorily and vicariously liable for the infringement of

  1,398 BMG copyrighted musical works infringed by users of Cox’s Internet services. Cox

  denies BMG’s claim.




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  November 24, 2015
                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 24, 2015, I electronically filed a true and correct copy
  of the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
  (NEF) to all counsel of record:

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